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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

VANN L. BAILEY,                              :      Civil No. 1:19-CV-1458
                                             :
      Plaintiff                              :
                                             :
v.                                           :      (Magistrate Judge Carlson)
                                             :
KEVIN KAUFFMAN, et al.,                      :
                                             :
      Defendants                             :

                                      ORDER


      AND NOW, this 3d day of November 2021, for the reasons set forth in the

accompanying Memorandum, the plaintiff’s motion for reconsideration (Doc. 61)

is DENIED without prejudice to further consideration of these questions, if

necessary, in the context of Bailey’s motion for spoliation sanctions.



                                       /s/ Martin C. Carlson
                                       Martin C. Carlson
                                       United States Magistrate Judge




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